 Case 2:20-cv-07602-JWH-AGR Document 151 Filed 07/04/22 Page 1 of 3 Page ID #:2383



 1                      UNITED STATES DISTRICT COURT
 2                     CENTRAL DISTRICT OF CALIFORNIA
 3

 4    Antonio Caballero,                           Case No.: 20-cv-07602-JWH
 5
                  Plaintiff,                       NOTICE OF SETTLEMENT AND
 6
                                                   JOINT APPLICATION FOR
 7                       v.                        ORDER OF DISBURSEMENT
                                                   TO THE UNITED STATES
 8
      Fuerzas Armadas                              MARSHAL
 9
      Revolucionarias De Colombia, et
10    al.
11
                  Defendants,
12

13    Julio Cesar Alvarez Montelongo,
14
                  Intervenor.
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16
           Antonio Caballero (“Caballero”) and Julio Cesar Alvarez Montelongo
17

18   (“Alvarez”) (collectively referred to as the “Parties”) hereby state as follows:
19
             1.   The Parties have resolved their disputes and executed a Confidential
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21
     Settlement Agreement.

22           2.     The Parties respectfully request that the Court order the United States
23
     Marshal to disburse
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25                                                                                 all sums
26
     that the United States Marshal is holding with regard to this matter so that counsel
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                                               1
 Case 2:20-cv-07602-JWH-AGR Document 151 Filed 07/04/22 Page 2 of 3 Page ID #:2384



 1                 can distribute such funds in accordance with the Parties’ Confidential
 2
     Settlement Agreement.
 3

 4           3.   Upon                               receipt and clearance of the funds from
 5
     the United States Marshal, the Parties shall provide joint instructions to counsel for
 6

 7
     the banks and entities subject to writs in the United States District Courts for: (i) the

 8   Northern District of California; (ii) the Southern District of New York; and (iii) the
 9
     District of South Carolina – the matters that have been stayed pending resolution of
10

11   the case before this Court. Upon the completion of the actions required by such
12
     instructions and the Settlement Agreement, and the clearance of all funds, the Parties
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14
     will dismiss the actions referenced in items (i) – (iii) above with prejudice as to

15   Alvarez.
16
             4.   After the completion of the actions referenced in paragraph 2 and 3 and
17

18   any other requirements of the Confidential Settlement Agreement, the Parties will
19
     dismiss this action with prejudice.
20

21   July 4, 2022                      Respectfully submitted,
22
                                       Devin Burstein, Esq.
23                                     Joseph M. Schuster, Esq.
24
                                       LAW OFFICE OF ERIC HONIG, APLC

25                                     /s/ Eric Honig
26                                     __________________________________
                                       ERIC HONIG
27
                                       Attorneys for Intervenor Julio Cesar
28                                     Alvarez Montelongo
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 Case 2:20-cv-07602-JWH-AGR Document 151 Filed 07/04/22 Page 3 of 3 Page ID #:2385



 1

 2
                                /s/ Leon N. Patricios
 3
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